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THE UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA

D-U-N-S 611934746

UNITED STATES OF AMERICA. )

Delaware filed 2193946, D-U-N-S 1 052714196 )
) Case no. 1:2 1-cr-0028-19
‘ )
) NOVICE: DEFAULT & [IMMINENT LIABILITY
James Delisco Beeks © )
iy special invitation & authorized representative )
io JAMES BEEKS © )

 

NOTICE: DEFAULT & IMMINENT LIABILITY

(5/15/2023

FROM:

James Delisco Becks ©, a man, sui juris, child of God, by special appearance. In the
care of 8815 Conroy-Windermere Road. #296 Orlando, Florida [82835]

Claimant,
TO:

Robin M. Meriweather as the livmg woman and as agent, employee, or contractor

of the corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No.61 1934746, 333 Constitution Ave
NW [20001]

Beryl A, Howell as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No.61 1934746, 3833 Constitution Ave
NW (20001]

Amit P. Melita as the living man and as agent, employce, or contractor of the
corporation UNITED STATES DIS ERIC? COURT OF DISFRICT OF
COLUMBIA CIRCUIY, Dun & Bradstrect No.61 1984746, 333 Constitution Ave
NW [20001]
Case 1:21-cr-00028-APM Document 968 Filed 06/23/23 Page 2 of 13

Jimmy S. Park as the living man and as agent, employee, or contractor of the
corporation THE FEDERAL BUREAU OF INVESTIGATIONS [FBI] (Dun &
Bradstreet # 87886567) 6OL 4" Street NW, Washington, DC 205385

Josh Uller as the living man and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B #
031664720, and UNITED SVATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstrect No. 611934746, and Federal
Delender Services of Wisconsin, Inc. bE L 1. Wisconsin Ave., Milwaukec, W1
538202, Email address: Joshua Uller <Joshua_UNer@fd.org>;

Jessica Ettinger as the living woman and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC, D & B #
03166-4720, and UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No.61 1931746, and Federal Defender
Services of Wisconsin, Inc. 22 Kast Milllin Street, Suite 1000 Madison, WI 53708,
Email Address; Jessica Ktlinger <Jessica_Mttinger@ld.org>;

Nicole Cubbage as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No.61 1984746 8338 Constiauon Ave
NW [20001], and The Law Office of Nicole Cubbage 712 1 St. NE, Unité
570Washington, DC 20002, Kmail Address: <cubbagelaw@pgmiail.com>;

Jeflery Nestler as the living man and as agent, employee, or contractor of the
corporation UNITED SPATES DEPARTMENT OF JUSTICE, Dun &
Bradstreet No. 072526021 and/or PHE U.S, ATVORNEY OFFICE, Dun &
Bradstreet No. 048158798, standing in for THIS UNITED STATES OF
AMERICA Dun & Bradstreet No. 0527 14.496 and corporate Delaware File #
2193946, 601 D Street NW Washington DC [20530], Eanail Address:
<Jeflrey. Nestler@usdop.gov>;

Kathryn Rakoczy as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun &
Bradstreet No. 072526021 and/or THE U.S. ATPORNEY OFFICE, Dun &
Bradstrect No. 048158798, standing in for 'PHE UNTTED STATES OF
AMERICA Dun & Bradstrect No, 052714196 and corporate Delaware File #
9193946, GOL D Street NW Washington DC [95076-5189], lemait Address:

<Kathryn. Rakoczy@usdoj.gov>;

Original respondents,
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Benjamin Muse as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No, 611934746 333 Constitution Ave
NW [20001] Benjamin  Muse@ldory

 

Greg Hunter as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF
COLUMBIA CIRCUIT, Dun & Bradstreet No. 6119384746 333 Constitution Ave
NW [20001] greghunter@mail.com

Matthew Graves as the living man and as agent, employee, or contractor of the
corporation UNFPED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet
No, 072526021 and/or ‘THI US. APPORNEY OFFICE, Dun & Bradstreet No.
048158793, standing in for THE UNITED STATES OF AMERICA Dun &
Bradstreet No. 052714196 and corporate Delaware File # 21938946, GOL D Street
NW Washington DC [20530]

Respondents.

NOTICE TO PRINCIPAL IS NOTICE TO AGENT AND NOTICE TO
AGENT IS NOTICE TO PRINCIPAL

SILENCE IS ACQUIESCENCE

THIS IS A SELF-EXECUTING CONTRACT

ALL RESPONDENTS ABOVE NAMED, shall take note as follows:

1.You, as the “original respondents”, are in DEFAULT of an opportunity to reply
to the 02/08/23; “NOTICE: ABSENCE OF SUBJECT MATTER
JURISDICTION, NOTICE: CONDITION PRECEDENT, ACCEPTANCE OF
OATI 1S OF OFFICK, NOTICE: DENIAL OF AUTHORITY OF
RESPONDENT ULLER, CUBBAGE, AS LEGAL REPRESENTATIVE,
REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO

‘TRIBUNALS PROCESS, NOTICE: UNANSWERED BILL OF
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PARTICULARS, NOTICE: POTENTIAL LIABILITY, AND
AFFIRMATION”, hereinafter referred to as the “02/08/23 Notice”, which was
delivered to cach of you original respondents on or before 02/17/28. A third copy

of said 02/08/23 Notice is attached hereto,

2. You, as the original respondents, are also in DEFAULT of an opportunity to
reply to the aforementioned 02/08/23 Notice set forth again in full within the
“NOTICE: FAULT AND OPPORTUNITY TO CURE”, which was your second
Notice, hereinalier referred to as the “03/05/28 Notice”, which was clectronically
dclivered or delivered by registered mail to cach of you, as indicated by the
attached Second Affidavit of Service. ‘The last date of delivery of the 03/05/28

Notice to the last of the respondents occurred on or before 03/23/23,

3. You, as the original respondents, having cach failed to respond to the
02/08/2028 Notice by the Effective Date of 08/05/2028 which was well more than
{4 days from date of last receipt of said 02/08/23 Second Notice, all as specified in
said 03/05/23 Notice, are therefore in DEFAULT of an opportunity to cure as

lawlully ollered in said Notice.

4. clarify the record, you, and each of you original respondents have to date

been given the opportunity to:
a. Slate a claim as stated in the first and second notices above relerenced;

b. Specifically accept the Offer of Tnamunity offered to you by claimant al

paragraph I(D) of the original 02/08/23 Notice;
“dabei

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c. Refute by specilic allidavit, point by point, by means of verified facts sworn to by
aman or woman alfiant with actual knowledge, specilically disputing any or all facts
claimant established showing that no respondent and no employer of any such
respondent had any authority or subject matter jurisdiction to take any of the
actions he or she took individually or on behalf of his or her corporate employer,
by kidnapping and then keeping claimant’s biological property as bondage on
surely and personal property stolen from claimant through intimidation, lear,
public humiliation, bias, and political persecution, all under extreme duress. “Thus,
severely violating claimant’s unalienable God given private rights as a man on the
land and soil, who repudiates operating within the admiralty/maritime jurisdiction

(Article 1).

d. Cure the failure to respond to the 02/08/23 Notice as specilied at paragraph II of

the 03/05/28 Notice.

5. By remaining silent cach of you original respondents have agreed with all terms
ol the said contract, such terms being clearly set forth in the 02/08/2023 Notice and

again in the 03/05/23 Notice.

6. Duc to the failure of cach original respondent above named to answer with any
specilic, verified, and sworn reply to the instant contract, required by both the
(02/08/23 Notice and by the 03/05/23 Notice, a binding DEFAULT JUDGMENT

may be issued against cach original respondent.

7. Lach said original respondent is further hereby Noticed that:
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a. Kach of the original respondents has, by tacit admission and failure to contest the
verified statements made in the 02/08/23 Notice, waived the right to answer or

object, thereby rejecting cach said respondent’s duce process opportunity.

b. Each of the original respondents has declined to claim his or her silence to date
was “an oversight, mistake or otherwise unintentional”, as cach was given an

opportunity to claint per paragraph TT (D) of the 02/08/28 Notice.

c. In the further absence of such verified reply, claimant does hereby assert his
previously stated intention to enforce this NOVICE; DEFAULT AND
IMMINENT LIABILITY hereinalter referred to as the 05/15/28 notice, along
with the self-executing contract contained therein, already agreed to by said

respondents, and as further set forth hereinbelow.

d. Any or all of the original respondents have agreed and understand that each may
incur liability whether or not their actions were justified by corporate bylaws known

as “statutes”, and as cach was warned per paragraph VI of the 02/08/23 Notice.

8. Claimant has already informed original respondents of their fault in exercising
non-existent authority and jurisdiction over him, and that their acts committed in
the absence of such authority and jurisdiction constituted and continue to constitute
a trespass to his Constitutional and common law rights. Said Notice was inifially
clfected as to cach said original respondent man or woman by means of his
02/08/23 Notice, the last respondent having received same on or belore 03/28/23.

Had respondents heard him at that time, the matter could have been resolved:
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“Moreover, if your brother trespasses against you, go and tell hin his fault between

each other and if he shall hear thee, thou has gained thy brother.” Matthew 18:15,

9. But said origial respondents appear to have not heard claimant and so, with his
several witnesses, claimant repealed what he had previously told said respondents,
by means of his 03/05/23 Notice of Fault, which included the original 02/08/23
Notice and which he caused to be served on said original respondents on or before
02/08/2023 by registered mail #RF 234 845 730 US, #RF 284 845 743 US. “Butil
he will not hear thee, then take with thee one or two more, that in (he mouth of two
or three witnesses every word may be established. 1 ce’d two witnesses on the

electronic serving of the 03/05/28 notices (See attached Exhibit). Matthew {8:16.

10. Original respondents upon being served with the 03/05/28 notice again
neglected to hear claimant or to respond, though they were each allowed a
reasonable lime frame in which (o do so, by reason of which claimant is now, 1
the within Notice of Default & Imminent Liability, again informing respondents, in
the presence of the broader community, “And if he shall neglect to hear them, tell
itunto the church but if he neglect to hear the church, let him be unto thee as a

heathen man and a tax collector.” Matthew [8:17

Lt. This lawlul process, including the 02/08/23 Notice, the 03/05/23 Notice and
within the 05/15/23 notice, with allached second allidavils of service and non-reply,
all jointly constitute the “mecting of the minds” as to all the terns of the original
self-execuling contract, which original respondents have all clearly expressed. As

*

8 original respondents are all in default for having failed to reply, further failures to

 
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explain such failure constitutes the FINAL admission and agreement of the parties

as stated in the three NOTICEs as defaulted.

12. BINDING JUDGMENT: Any respondent failing to respond as defined herein
agrees that a Binding Judgment incorporating all of the terms of the within Contract
may be entered by any common law court and/or administrative tribunal, at
claimant's clection. Any such judgment is entilled to full faith and credit by any
such common law court or corporate tribunal at claimants clection, Claimant may
clect to enforce the Contract or any Binding Judgment arising from it through: a
statutory or common law sheriff, deputy or other law or corporate code enforcer
who has taken an oath to support the Constitution for the united states of America.
Any respondent who further fails to respond as defined herein agrees to waive any
and all claims he or she may have against the members of any such common law
court or against any of the aforementioned common law sherills, deputies or other
law or corporate code enforcers who have taken an oath to support the
Constitution for the united states of America, which claims may herealier arise in
connection with the enforcement of the Binding Judgment referred to herein.
Respondents agree to hold any such enforcement agents harmless for any acts
performed lor the purpose of, or incident to, the enlorcement of said Contvact or

judgment arising therefrom.

13, FINAL OPPORTUNITY FOR DISCHARGE OF LIABILITY: Any

respondent will be absolved of all hability as of the date of the receipt ol the within

 

‘Notice, upon the surrender to claimant his or her written acknowledgement of the

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void ab jmto nature of any and all documents which may have issued from any
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said respondent or from any of his or her corporate employers. Ifthe respondents

do not wish to respond as stated above then the contract is in full eflect.

14, All respondents are further hereby notified that respondents * third and final
refusals to deny the existence of their threats, frauds, and continuing acts of
common law trespass including without limitation false arrest, kidnapping, assault,
battery, conversion, subrogation, pre-trial detention, and/or false imprisonment,
without a victim, may be considered additional evidence of respondents
usurpation of legitimate Constitutional authority, in the event that such acts become
the subject of statutory or common law grand jury inquiry. Respondents are
therefore specifically Noticed that such third failure to respond im the manner
repeatedly indicated by this and prior Notices, while keeping unlawful violations

against claimant, may be considered as evidence of sctenter or mcns rca.

DEFAULT: For your failure to honor the offers places you al Default, For your
failure, refusal, or neglect in the presentment of a verified responses to my 02/08/28
and to my 03/05/23 by your acquiesce you do tacitly agree with all (corms,

conditions and stipulations set forth within the 02/08/23.

DISHONOR: By the terms and conditions of the agreement resulting by the offer and
acceptance of the 02/08/28 notice, you are under the duty and obligation to timely and
in good faith protest and/or honor the 02/08/28. Your dishonor of the 02/08/23 notice,
discharges the alleged liability that you have claimed. Allowing fourteen (14) days for
you to respond timely and in good faith protest and/or honor the 02/08/23 notice, and

an additional ten (10) days before the 03/05/23 notice was served, which granted
Cas

Failure

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an additional fourteen (14) days, and the time allowed is now past for you to

in good laith protest and/or honor the_02/08/23 notice.

ABSENCE OF SUBJECT MATTER JURISDICTION, NOTICE; CONDITION

PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE, NOTICE; DENIAL

 

OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO
DE FACTO TRIBUNAL’S PROCESS, NOTICE: UNANSWERED BILL OF

PARTICULARS, NOTICE: POTENTIAL LIABILITY, AND AFFIRMATION’,

 

 

 

 

to have been dishonored, and the Notice: Fault & Opportunity to Cure to have

been dishonored, thereby comprising a confession of judgment on the merits.
ty “

by yourselves lo respond within Gimelrame provided, has resulted in the

following:

. Youare given the estoppel for your failure to answer back to me of your
claim.

You are in tacil agreement. No surety, debt, judgement, trial, or balance is
owed for the case number(s) above in regard to radename James Becks ©,
You are possibly under the rule of Jeopardy, and/or fraud as described in 18
ULS. Code CHAPTER {7-FRAUD AND FALSE STATEMENTS,

You are stopped from any further collection activity regarding this matter,
a

os ©

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5. A DEFAULT judgement will be rendered in accordance with the rules of the

BINDING contract in the original 02/08/28 notice,

 

DISCLAIMER: The use of codes, statutes, rules, regulations, and court cilaions on
any document past, prescut. or future and filed with this court, by me, the living man,
is only to notice that which is applicable to government oflicials and ts not intended
nor shall it be construed that Ehave conferred, submitted to, or entered into any

Jurisdiction alluded to thereby.

 

The above Notices are legal and lawful notice. Respondents may deny said Notice

 

ONLY by serving the natural man James-Delisco:Becks by certified, restricted delivery
ULS. Mail, with return receipt, to the address indicated for said NOVICK. in previous

Notices, to-wit:

 

James-Delisco:Beeks, c/o Rural Route 8815 Conroy-Windermere Rd. #296 Orlando,

Florida [82835] within Fourteen (1) days alter the delivery of this Notice, as
instructed in prior Notices. Therealier, the liabilities listed above may not be denied or

avoided by the original respondents named in this aud prior Notices.

NOTH: Newly named respondents GRAVES, HUNTER, MUSE, are being provided
with the within Notice and the attached 02/08/23 Notice so that they may each govern
themselves accordingly in light of the acts commitied by the original respondents as

referenced in this and prior Notices.

Qui non obstat quod obstare potest lacere videtur
Ae.7

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ALL RIGHTS RESERVED UCC 1-308 |
esc

ACKNOWLEDGEMENT

ca: Be

James Delisco Beeks© Sui Ji

 

   
 

Subseribed and sworn fo before me, the undersigned nolary public, this day

ol eu ~8AY0- hy
above 1 witnessed on (his datecon
Notary Public

My Commission Expires: .

_s the Claimant above named, whose aulograph
_ County, Florida.

 

  
 

@, SARAH ELIZABETH PARISH
isi fi is} Commisston # HH 050639
" eee Expires October 6, 2024

 

 

 
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Certificate of Service
In accordance with Rules of Practice 150 and 151, 17 C.F.R. §§ 201.150 & .151, I certify

that a copy of NOTICE: DEFAULT & IMMINENT LIABILITY, NOTICE: FAULT & OPPORTUNITY TO

CURE, AFFIDAVIT OF NON-REPLY, AFFIDAVIT OF SERVICE, (EXHIBITS A-l), NOTICE: ABSENCE
OF SUBJECT MATTER JURISDICTION, NOTICE: CONDITION PRECEDENT, ACCEPTANCE OF

OATHS OF OFFICE, NOTICE: DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS
LEGAL REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO

 

TRIBUNAL’S PROCESS, NOTICE: UNANSWERED BILL OF PARTICULARS, NOTICE: POTENTIAL

LIABILITY, AND AFFIRMATION was served on the following on 05/31/2023 postmark, via

method of service indicated below:

To: Amit P. Mehta

333 Constitution Ave NW Washington D.C. 20001

Respondent

Method of Service:

g 124 33, YS

U.S. Postal Office by first class mail Registered return receipt # QE q Y

   
  

Sui Juris, man

Claimant
